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                               UNITED STATES DISTRICT COURT
                                          IN THE
                               SOUTHERN DISTRICT OF FLORIDA


 ROGERIO CHAVES SCOTTOH,   )                           CASE N0: 0:19-CV-60745
                 MovAxT,   )
                           )
                           )
            VS.            )
                           )
                           )                                           FILED BY                 D.C.
 UHITED STATES OF AMERICA )
               RESPONDENT, )
                         . )                                               AF2 -112219
                                                                            ANGELA E.NoauE
                                                                           cL.EBK u.S,D1STLcm
                                                                           s.(),oFFLA.-M IAMI

                      MEMORANDUM OF LAW IN SUPPORT OF MOVANT 'S
                        APPLICATION PPRSPANT TO SECTION 2255


     Come now, the Movant Rogerio Scotton , by and through pro se, respectfully moves
this Court with this memorandum of 1aw in support of Movant's application pursuant t
                                                                                       oj
2255 to vacate, set aside his conviction and dismiss this case in the interest of

justice, or the alternative to a new trial.
     lt soon to emerged that the entire process in this case was fraught with collusion
and tained by conspiracies in this orchestrated prosecution involving, officers of the
Court, Movantîs attorneys being ineffective during pretrial, sentence and appeal for
having failed to properly investigate this case and provide the Movant with the minimum
effective legal assistance which is guaranteed by the sixth amendment right.
     lhe Hovant will prove that the evidence introduced in trial, the contradictory
testimony given by the government witnesses and the charges itself lodged on the
indictment was a fruit-of-the-poisonous-tree which 1ed to this unlawful conviction
under constitution laws.
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     lhe Movant also will establishes numerous ineffective assistance provided in this
case by attorney Doakes, Armstrong, Adelstin and Klugh , that along with prosecutorial
misconduct which consequently violated the Hovant's Fifth , Sixth and Fourteenth
amendment rights clause to the U.S. constitution.
     In this case, the unlawful evidence sukmitted by the government witl also

establishe that the verdict in this case was obtained through a bias jury, wrongful
charges and perjured testimony given by the government witnesses.
     lhe Movant will soon prove others egregious constitution violation imputed
directly by the prosecutor and unfortunately as well as the Court.



                           1. STATEMENT 0F THE CASE

     In this case, Hthe-first-of-its-kinds novel'', the FBI agent Vanbrunt arrested the
Movant Rogerio Scotton on March 15, 2012, after obtaining a unlawful indictment in
violation of his constitutional rights and Fed. R. Crim. P.   12(b)(3)(B).
     Consequentlyy as a result of the government's orchestrated arrest, the Movant was

charged with the alleged offense pursuant to 18 U.S.C. j 1341, IMAIL FRàöD) in which
the government allege that the Movant committed a offense by the meaning of false and
fraudulent statement to obtain ship accounts from FedEx, USP and DHL companies, in

order to ship packages connect with his online business. (See dkt 3).
     On June 18, 2013, a superseding criminal indictment was filed by the government
dismissing the original indictment.      addition to the wrongful 26 counts of mail

fraud, the government added one extra count of mail fraud pursuant to j 1341.
     On July 18, 2013, the Movant was charged with a second superseding indictment

with now twenty seven counts of mail fraud pursuant to j 1341 and two identical counts
of making false statement to a government agency pursuant to 18 U.S.C.   j 1OO1(a)(2).
See, Dkt 95.

    On January 26, 2014, trial began and the Movant was forced to represent himsetf




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despite having requested on numerous occassion for the Court to appointed him a
attorney.
     lhe Movant was denied the right to counsel after two retained attorney withdrew
from the case due to Hovant's lack of funds and after one public defendant and two-
Court appointed attorney whom did not provide the Hovant with any meaningful legal
assistance.

     On February 26, 2014, the Hovant was convicted by a bias jury as charged. The
Hovant filed his timely appeal notice and, on April         2016, the Court of Appeals
affirmed the conviction after unprecedented seven orchestrated extension requests made
solely by the appeal attorney that along with his ineffective assistance provided
under conflict of interest.

     On October 2O, 2016, the Movant subnitted his petition for Writ of Certiorari
without the benefit of a counsel which never passed the Supreme Court Clerk's table
and was denied on December 12, 2016.

     0n December 12, 2017, the Hovant filed his application pursuant to 28 U.S.C. j
2255 which maliciously and orchestrated was dismissed and unlawful denied.

     lhe Movant objected the Magistrate Judge report and informed the Court that the
request made by the Magistrate to dismiss the motion was unlawful and in violation of
the Supreme Cour t ru ling in CA STRO v . UNITED STATES.

     lhe District Court has refused to review the objections made by the Hovant and
malicious denied the Hovant s
                            S 2255.
     lhe Movant's timely appeal to the District Court orchestrated unlawful denial
which the government concorded with Movant's argument on August 24 , 2018.

     On March     2019, the Appeal Court for the Elevent Circuit stated exactly the
same argument mentioned by the Movant in his motions and vacated and rnmnnded the
District Court's denial of the Movant's j 2255.
     Ihe time now came after diligent searching to correct and vacate this unlawful and
deceitful prosecution that has been admitted and presented to the jury, after serving


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seven years in prison, the Movant is hereby requesting justice and the reversal of this
orchestrated prosecution.


          II. GROPND 0NE: WHETHER MOVANT WAS DENIED EFFECTIVE ASSISTANCE BY
                          RIS ATTORNEYS DERING PRETRIAL VIOLATED HIS
                          CONST ITUT IONAL R IGHTS

     lhe Movant contends that under the Sixth Amendment he is entitled to receive
effective assistance of counsel in a criminal prosecution.

     In this case, the Hovant was denied the guarantee rights by five Court appointed

attorneys whos legal performance fell bellow the objective standard of reasonabless.
     lhere was no one single investigation made by those Court appointed attorneys in
this case. They did not interview a single government or defense witnesses. They did not
pursue any important crucial leads made available to them by the Movant.
     Petrial investigation and preparation are key to effective representation by
counsel. lhe attorneys in this case performed none of those essential tasks. The
attorneys did not interview or attempt to interview a single witnesses prior to trial.
The attorneys failed to inspect the government discovery. In facty during trial the
government introduced unlawful and inaccurate spreadsheets which claimed to have been
given to Movant during pretrial. Ihose cds were empty.
     Below, the Movant will outline numerous ineffectiveness which have infected this
entire case based on the attorney's blunder and negligence. tet us turn to the first
ineffectiveness claim.


          A) PUBLIC DEFENDANT DOAKES
     Ihe Movant contends that he made available for the attorney on mnny occassions
important leads and critical witnesses that would provide crucial testimony and evidence
which could reasonably result in a different outcome in the case. These material
evidences and witness testimony would have established that the Movant had always used a
third party shipping company which was located in Atlanta, Georgia. In faot, attorney


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Doakes had been provided with a affidavit from the third party company owner , Osvaine
Duarte to the effect.
     Xumerous witnesses including, Junio Silva, Smmnra Moreira, would provide crucial
testimony that the knew Osvaine Duarte, and that he offered shipping services to Brazil
by air and sea.

     Ms. Moreira would testify that many times she contacted Mr. Duarte to inquire about
shipping prices for a package and made deposits into Mr. Duarte check account.
     Mr. Silva, would testify the same and that went on a boat trip with Movant and
Duarte in 2009. Mr. Silva also would have testified that Movant's marriage was in fact
legitimate as he spent numerous times in the Hovant's house during trips he made from
Boston to Florida.
     Another proof of the attorneyîs ineffective assistance provided to Hovant was when
the attorney attempted to force him to enter into a guiltyyèea despite the Movant wishes
to go to trial. Moreovery the attorney Doakes informed the Movant that the government
had a docunent that would link the Movant to a specific package shipped under the
alleged fraudulent account. lhis package, the attorney alleged was shipped from a bike
store in California with the final destination in Brazil. Attorney Doakes claimed that
she had contacted the bike store in California and asked the bike store whether they had
done any business with the Movant. lhe bike store denied this. Attorney Doakes further
alleged contacted the individual in Brazil, to whom the bike store sold unkown
merchandise and shipped to Brazil. Yet, the individual denied ever doing any kusiness
transactions with the Movant or even knowing him.
     lhe Movant than asked to review the documentation related to the California bike

store package and the attorney stated that she didn't have it (BRADY). The Hovant than
asked the attorney whether she had investigated how the bike store shipped this package
and which company was used to shipped to Brazil. No response was given by this attorney
rather the attorney adivised tbat the Movant should consider entering into a plea
because the government stated that they have away to link the package to Hovant.



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Here in this particular issue, the attorney failed to obtain important documentation
from the bike store as well as from the individual in Brazil, thereby providing
ineffective assistance to Movant.
     Attorney Robert Abreu turned over all dicovery and case files to attorney Doakes.
Among those files, attorney Doakes received the sworn affidavit and video from Osvaine
Duarte which attorney Doakes' office made an official translation. lhe Movant asked

attorney Doakes for a copy of the translated affidavit and the attorney denied the
request.

     Attorney Doakes failed    to interview Osvaine Duarte who possessed numerous
exculpatory docunent, despite many requests by the Movant.
     lhe attorney further failed to inform the Movant his rights to obtain Duarte's
compulsory material testimony under a Rogatory Latter. On another different occasion,
the Movant was in a meeting with attorney Rhonda Anderson        FDC Miami in order to
inquire the possibility of probono attorney representation. During this meeting,
attorney Doakes was with other clients on the same floor at FDC Miami. Upon seeing

through the glass wall that Movant was talking to another attorney (Ms. Anderson), Hs.
Doakes barged into the room and began to engage into a verbal confrontation with
attorney Anderson. Thus, knowing that Ms. Doakes had never provided the Hovant with any
effective legal assistance, now she precluded the Movant from possibly receiving probono
legal assistance.
     0n one occasion, the attorney showed that she was more concerned with the Miami
Heat game which she attended on the night before, than it anything substantial toward
the Movant case as she engaged in this conversation with her investigator during this
visitation at FDC Miami.
     Movant contends that he was denied effective assistance by this attorney, in which
violating his rights and such guarantee. lhus, the Movant sixth amendment were violated.




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              CJA ATTORSEY LANCE ARMSTROXG


     Ihis particular attorney met with the Movant only two short occasions. 0n each
occasion the attorney had no docunents with him, no legal pad, or even a pen. He also
informed the Movant that the federal judicial systan is corrupt and that the conviction
rates are 98:.
     During the second visitation at FDC Miami on Sunday afternoon, the Movant noticed a
strong smell of alcohol coming from the attorney who confessed to have being fishing on
this day.
     Nonethelessy no conversation in regards to discovery and witnesses took place.
Bather, the attorney kegan to brag about how he had won his trial on another case.
     Attorney Armstrong did not interview any witnesses nor did he attempt to interview
any witnesses before the trial. lhe attorney did not inspect the government discovery or
the Movant's file. In facty 6 cds was proved to be empty during trial which clear shows

that not one attorney ever inspect any discovery cdds. (see trial transcripts, DE-511 pg
42; DE-511 pg 126, DE-511 pg 128, and DE-47O pg 90-91).
     lhe attorney further called the Movant's family for a meeting inside the Apple
Bees restaurant in Hollywood, Florida in order to convience the Hovant to plead guilty
even known the attorney has never attempted to create a minimum possibility to a defense
theory.
     Based on the attorney's faikure to prepare for trial, failure to interview
witnesses, failure to provide the Movant with a investigator, failure to inspect the
discovery cds so the Court coukd be properly informed that the same was empty, this
attorney violated the Movant sixth amendment rights as he has provided the Movant with
ineffective assistance and consequently the Hovant was deprived of a fair trial.
     Consequently to attorney Armstrong blunt and negligent conduct, the Movant
requested the Court to withdraw the attorney from the case.
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              CJA ATTORNEY STUART ADELSTEIN

     The first meeting with this attorney was at Broward county jail in January 2013. The
Attorney introduced himself and than informed the Hovant that he would not file any
motion for bail for the Movant and that he will review the discovery and talk to Movant
on another day to dicuss on how proceed with the trial.
     During the second visitation at FDC Miami, attorney Adelstein, after spending more
than one hour with other seven clients, called the Movant inside the legal room to tell
the Movant that he has received the discovery from the government which he was curently
reviewing and further, would come back on the following week.
     On the following week, the same scenario occurred. After spending hours with other
clientsy the attorney called the Movant and informed him that he has contacted the
government office to request the discovery information. Ihis, was despite suggesting in
the previous week that the attorney was reviewing the discovery.
     Nonetheless, the Movant provided the attorney with a witness list to be interview in
order to obtain important material and exculpatory documentation. lhe attorney denied
saying that he must review the discovery first. lhe attorney then began telling thF
Movant about FED conviction rates and that the Movant should consider to a guilty plea .
     The Movant then asked the attorney to file a motion requesting bail which the
attorney responded that Movant was facing 20 years and should make a deal to plea guilty.
Ihe Movant then requested the attorney to withdraw from the case. lhe attorney then
changed the conversation and told the Movant that he would look into the possibility of
bail. Instead to communicated with the Movant and to file a motion to Court for bail as
was requested in many occasion, the attorney sent bail kondsman, Rodriguez, to the
Movant's family apartment complex. Although no motion for bail was filed , the Bail

bondsman took $16,000.00 from the Movant's family by stating that him and the Movant's
attorney would get the Movant out on a $100,000.00 nebbia bond. Neither the motion for
bail was filed or granted. Ihe $16,000.00 was never returned to the Movant's famiky and


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he was forced under this negligence and fraud, to endure two years incarceration without

the right to bail. (NO MucH 10 SAY ABOUT FAIR PROCESSI).
     lhe Movant than filed a lawsuit against the attorney and a motion for the Court to
withdraw him.
     Here in this case, attorney Adelstein had not interviewed a single witnesses nor
attempted to do it. The attorney had not reviewed any discovery cd's nor had he attempted

to do such. In fact, during the trial the Movant objected government introduction of
summnry spreadsheets which was introduced in violation of rule 1006 and because the cds
were blank. (See, DE-511 pg 42, DE-511 pg 126, DE-511 pg 128, and DE-470 pg 90-91).
     In trial the government even suggested that the Hovant attorneys may have made a

copie of the cds and give blanks to the Hovant without inpected first. (Seej DE-511 pg
130-132, DE-47O pg 93).
     lhe Hovant contends that this attorney provided him with no possibility of an
effective defense. Ihus, the Movant was deprivate to effective attorney assistance and
consequently his sixth anendment rights clause of the U.S. constitution were violated.

          D) cJA ATTORNEY JASON KREISS

     Attorney Kreiss was appointed as a standby counsel during the part of pretrial and
during the trial.
     As a standby counsety he should be ready to take over the Movant's case whenever

requested by the Movant or Court. ( See, UNITED STATFS v. VAUCH M ,
                                                                  EXANDER CROPPER, 2017
U.S. Dist. Lexis 53569, case no, 2:17-CR-03O-VEH-1MP-1 (April 7, zol7ltNorthern District
of Alahnmal).
     Here in this case, sentencing transcripts clear show that the attorney had never
inpected the discovery cds, interviewed any witnesses, or pursued any leads given by

Movant. During the sentencing hearing, the attorney stated that the Court had not allowed
him to prepare for trial. In fact, the sentencing transcript review that the attorney

complained to Court that he was ordered not to review any discovery because he would not
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be compensated. The Court then told the attorney that this is not correct,   but that ie
was not prepared for trial.
     Ihe rule requires that during the trial the standby attorney shall sit behind the
Movant and be available to answer questions from the defendant.
     In this case, the standby attorney was order by the trial Judge to be seated in the

back of the Courtroom. (See, DE-511:4-16-25, DE-511:5-13).
     lhe attorney was not fully prepared for trial as he was required to rpmxin so, as to
take over the defense of the case. He should have acted in a purely capacity before
trial.

     The Hovant contends that during a meeting at Palm Beach county jail, the standby
attorney advised the Movant that he should not worry about trial because there were mnny
violation in this case which would be reversed on appeal. Ihus, the attorney did not make

any attempts to inspect the case or even the cds which contained the unlawful inaccurate
spreadsheets. lhose spreadsheets ultimately, cost the Movant a high sentence. Had the
attorney inspected the spreadsheets kor accuracy as requested by the Movant before, or
properely prepare himself for the sentencing hearing, there is substantial possibility
that the Movant would have received a much lower sentence or even a new trial.
     lhe Hovant contends that he was deprived the right to a standby attorney during
trial because the attorney was ordered to seat in the back of the Courtroom and during
the trial he was seated in the back with his laptop working on his other cases.
     For the sentencing, the attorney failed to inspect the discovery cds so he could

appropriate object and inform the Court that the original records regarding the slrannry
spreadsheets did not exist. Had the attorney inspected the cds, he would have proven to
the Court that the sugmary was in fact, inaccurate and repeated.
    Nonetheless, the attorney ineffectiveness cause the Movant to be sentenced, as a
first offender, to the high end of the guideline level under numerous violations of the
constitutional rights.
    Despite many orchestrated and false hearsay statement made on record by the


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attorneys, the record of this case cannot shows any evidence that the attorneys provided
any tasks required by law.
     Ihe Hovant further sent to al1 the attorneys by certified mail, a information
affidavit as well as notice of default. lhe attorneys never responded. Hence, silence

equates to truth. If this Court still stand-by justice, this conviction must be vacated
and the case set to a new trial.


           111.     GROUND TWO-:TTWHETHER 7QY E APPEAL ATTORNEY INEFFECTIVE
                                                                        X
                                   ASSISTANCE DPRING THE DIRECT APPEAL VIOLATED THE
                                   MOVANT *S SIXTH AMENDMENT R IGHTS CLAPSE TO THE
                                   U.S. CONSTITUTION .

     lhe appeal attorney failed to effectively appeal Movant's conviction. In facty
before filing his brief to the Court, the attorney did not review any important
informntion provided to him by the Movant. The attorney had not inspected the accuracy of
the spreadsheets and worsey lost part of the Movant's case file which the attorney
himself admitted.
     lhe Movant contends that the attorney provided him with ineffective assistance and
consequently, the Movant was denied the Opportuity to Prove his innocence.
     Subsequently to the attorney failed to effectively conduct the Movant's appeals, he
denied the Movant the right to a fair and effective appeal. The Movant right to a
effective attorney were violated.

     Below are numerous ineffective assistance provided during the appeal by the attorney
Klugh who refuse to include in his brief numerous other claims requested by the Movant.


            A) FAILED TO FILE A MOTION TO RELEASE PENDING APPEAL

    Ihe record and evidence shows that in many occasions the Hovant requested attorney
Klugh to file a motion for release pending appeal which is under the Movant's
constitutional rights despite his eligibility or not. Hence, the attorney misled and lied

to the Movant as well as failed to file such motion.
    On July 9, 2014, attorney Cynthia Rodriguez came to FDC Miami to see the Movant.


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During this meeting, the Movant provided attorney Rodriguez al1 the discovery cds which
included those blanks, and requested the attorney inpect the accuracy of the suanary
spreadsheets. Also in the sane meeting, the Movant provided the attorney with a motion
for release pending appeal and requested the attorney Klugh to file such. No cds were

inspected and no motion for bail was filed.

     On November 17y 2014, the Movant sent to attorney Klugh an appeal brief and a
motion for bail which the Movant drafted himself. The attorney reply on December 2, 2014
and stated that he would prepared himself a motion for bond and would sent for the
Mbvant to review and approve. Once completed, he would filed said motion.
     Ihe attorney once again lied and failed to prepared and file any motion for bail.
And on January 2015, the Movant again requested the attorney to file a motion for bond
and also to include in his appeal brief the claims Movant had drafted himself before.
Ihe attorney responded that his first priority was to file the brief and once filed he
would file the motion fo bond. This, depite that on December 2, 2014, he stated that
would prepare the motion for the Movant review.
     On September 25, 2015, the Movant again sent another letter to the attorney
requesting him to file his motion for bond and that has been 17 months since the notice
of appeal was filed and no motion of bond nor the brief was filed to the Court. On
September 25, 2015, the attorney responded that it was not good idea to seek bond until
at least the Court granted an oral argument in the appeal. lhis, despite that Movant
request on many other occasions he wanted to exercise his rights to release pending
appeal, and despite that the attorney himself stated that would filed it. Thus, the only
thing the attorney has done here in this casey was lying to the Hovant and misled him
until the end of the appeal.


            C) ATTORNEY MISPLACED AND LOST MOVANT'S CASE FIFE

    The case record and the appeal record clear shows that the attorney misplaced and
lost important case files. In fact, when the Movant requested from the attorney his


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entire case file, the attorney response was that he never had such .(See, Dkt. 607, 608,
610, 611 and 622)(see also, motion to compel attorney on appeal dkt).
     lhe attorney admitted that did not have the Hovant files at one point which clearly
proves that the attorney did not inspect the discovery cds or files as requested by the
Hovant in order to prove that the sulmnry was not accurate.     (See attorney letter and
motion filed under case no, 17-CV-62428-FAM exhibit 7).
     The attorney failed to pursue important leads given by the Movant which would prove
that the sllmnnry was not accurate and that the records did not exist.

     The attorney lied and failed to allow the Movant to review the brief before it was
filed into the Court as requested by the Movant on many occasionsy by letter, phone and
ecnil. Worse, the attorney lied to have included the Movant claims in his appeal brief.
     There can be no denial that this attorney was appointed to this case for a reason .
The reason was not to defend the Movant or effectively appeal his conviction. lhe
attorney malicious orchestrated plan to delay the appeal upon requested 7 frivolous
extensions which unprecedente was granted by the Appeal Court. There is clear
orchestrated conduct made in this appeal by the attorney and the government was to
prevented all the violations be reviewed by the Appeal Court which consequenlty had lead
to the conviction being affirmed.


           D) ATTORNEY FAILED TO REQUEST TWO LEVEL FEDUCTION PURSQANT TO
AMENDMSXT 791

      On December , 15 , 2015, the Movant filed a motion to reduce his

sentence pursuant to amendment 791 after the appeal attorney refused
inc lude in his appeal brief a relief that would reduce Hovan t's guideline
by two level.

      On December 23 , 2015 , the Court denied w ithout allowing the Movant
to exercise his due process rights to reply to th e governmen t allegations
in opposition .



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     The appeal attorney knew that the Movant's conviction was not final since his
direct appeal was pending and had clear knowledge that the Hovant would be eligible for
 the two level reduction pursuant to amendment 791 of the finance table . He ignored and
failed to request this relief under his appeal brief. Thus, the attorney clearly
provided ineffective to Movant and consequently violated his sixth anendment rights.


             E) REFq/E TO APPEAL LOWER COURT DENIAL THE MOVAKT'S COMPULSORY
RIGHTS TO INTRODUCE WITNESSES

     Before trialy the Movant sukmitted to the Court a tist requesting the U.S.
Marshals to subpoena his witnesses and which the Court granted after conducting material
examination of each witnesses. All together, 40 witnesses were subpoenaed .
     Four weeks into trial, the trial Judge called the Movant in Court to conduct again
a material exatination of his witnesses which was already granted and subpoenaed. The

trial judge now denied the Movant his compulsory rights to bring              testify, 29
witnesses.
     The Movant requested the appeal attorney in many occasions to appeal this
violation. However, the attorney failed to do            Thusy he provided the Movant
ineffective assistance and the Movant sixth amendment consequently were violated .


             E) GIGLIO VIOLATION
     1) lhe attorney failed to appeal the innunity violation regarding the Movant z
wife's testimony in his appeal briefy as requested by the Movant.

     2) RECRUIT CONVICT INHATE: The attorney failed to include in his appeal brief this
other GIGLIO violation, in which a convicted inmate received a sentence reduction, who
government recruited to sabotage the Movant defense, by suppressing important documents
from his cell and to obtained important information for the government to used during
trial. lhe appeal attorney failed to expolse this prosecutorial misconduct, thereby, he
has provided ineffective assistance to Movant.


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                THE ATTORNEY FAILED TO CHALLENGE THE HA IL FRAUD OFFEHSE UNDER

18 U.S.C. j 1341 UNDER HIS APPEAL BFSJF AS REQPESTS; BY THE MOVAHT

     Ihe government alledged that the Movant comitted mail fraud by shipping thousands
of packages to his clients without paying the shipping services to FedFx , UPS and DHL

companies. Hence, those companies, under the 27 counts, have not suffer any losses, and
are not the recipient for purpose of the mail fraud statute. The attorney failed to
appeal this important issue, therefore providing the Movant with ineffective assistance.


              H) THE ATTORNEY FAILED TO INCLUDED IN HIS APPEAL BRIEF THE
WRONGFUL ENHANCEMENT FOR OBSTRUCTION OF JUSTICE AND SOPHISTICATED MEAXS

AS REQUESTED BY THE MOVANT

     The Movant made available for the appeal attorney important information which would

clearly shows that the Movant's enbancement for obstruction of justice and sophisticate
means was imposed unlawfully and throughout continue bias in this case. Thus, the
attorney failed to included this issue in his appeal brief, therefore, he has provided
ineffective assistance to Movant.



                  IV. GROUHD 111: WHETHXR        FBI AGENT VANBRPNT V IOLATED THE
                                     MOVANT 'S    COMPULSORY CLAPSE TO A FAIR
                                     TRIAL

     The appeal attorney Klugh failed to included in his appeal brief that the FBI
illegal called an defense witness and went to the house of the other witness with the
only intent to intimidat those witnesses and prevent them from testifying in trial. lhe

attorney also failed to included the FBI agent perjured testimony given during the
trial.

   Mr. Ron Wolff free unhampered choice to testify was interfered by agent Vanbrunt
illegally and unauthorized phone call to that defense witness which was         already
subpoenaed.
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lhis particular witness would provide cruciat important documentation which would

clearly show that Osvaine Duarte, the person whos Movant used to ship a1l his packages,
had in fact, used Hr. Wolff FedEx business account without authorization . Mr. Wolff
reported this to the NYPD and Sand Spring PD.
     In preparation for trialy the agent engaged in explicit, unconstitutional acts with
the only intent to prevent the Movant from presenting exculpatory testimony of key
witness.
     Junio Sitva, would have testified that the Movant always used different third party
ship companies to ship sold merchandises to his online clients and further would confirm
that Osvaine Duarte had been one of those companies. Moreovery Junio Silva would have
presented evidence and testimony to affirmed that the Hovant marriage was in fact, real.
He would testify that aroung 2011 he spend two weeks with Movant in his house due the
breakdown of the relationship with his wife Mollinedo.
     Agent Vanbrunt entered Junio Silva house days before the trial and told him that he
would have to testify against the Movant and if Junio refused the agent stated that he
could force him under a federal subpoena. Although Junio Silva felt the intimination , he
advise the agent that he would not help him against the Movant.
     Before, living Junio Silva's house, the agent turned and told Junio Silva that with
him or without him, he would cnke sure that the Movant would go to prison and after

serving the     term imposed, he would be outside the prison waiting for the Movant to
deport him from the United States. This, same statement was made to Claudia Scotton and
Carlos Colon.
     Ihe agent made his promise and in fact, subpoenaed Junio Silva even after the
Movant was already granted by the Court and had already been subpoenaed by the
Marshals. The Court in the other hand, later denied the Movant from bringing Junio Silva
to testify.
    The agent also did not permit Junio Silva to enter the Courthouse on his date
scheduled to testify. The Orchestrated conduct between the trial Judge and the agent has



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prevented the Movant from bring excrucial inculpatory evidence and material testimony.
lhus, the Movant was denied the compulsory rights under the fifth and sixth anendment to
present witnesses defense in trial. His constitutional rights were violated.



                              V . ARCUMEHT AND APTHORITIES


           WHETHER THE MOVANT WAS DENIED EFFECTIVE ASSISTANCE BY ATTORNEY
                DURING PRETRIAL VIOLATED HIS CONSTITUTIONAL RIGHTS

     Ihe Sixth amendment clause of the U.S. constitution guarantee the Hovant the right
to effective assistance of counsel in criminal prosecution. See, YARBOUGH v. GFNTRY, 54O

U.s. 1, 5 (2OO3)(per curiam); See also, PADIIJA v. KY, 130 S. Ct. 1473, 1480-81
(2010)(6th right to counsel is right to effective counsel); HCHANN v. RICHARDSON, 397
U.S. 759, 711 N.14 (197O)(same). The right to effective assistance applies to both,
retained and appointed counsel. Seey CIBR.
                                         ER v. SIBLIVAN,   446 U.S. 335, 344-45 (1980).
     lhe Movant contends that this guarantee rights entitle him also to effective
counsel during certain m st-indictment-identification procedures. UHITED STATES v . WADE,

388 U.S. 218, 244 (1967). In WADE, the sixth amendment rights to effective assistance of
counsel attaches to ''critical stages'' of pretrial proceedings. 388 U.S. at 244. See

also, POUH .
           L v. AtA, 287 U.S. 45, 57-59 (193O)(period arrangement to trial is Hperhaps
the most critical period of the proceedings'' where defendant must have ''sufficient time
to advise counsep').
     The Movant contends that in this case, attorney consultation with Hovant was
totally inadequate. The attorneys failed to prepare Movant's defense competently under
the most tolerant standard of evaluation. lhe attorney failed to obtain legal relevant
facts frun Movanty his family and crucial witnesses. The attorneys failed to pursue
obvious leads provided to them by the Movant, and failed to completely garner

corroborating evidence for Movant's defense.

    The Movant contends that in this j 2255 he has showed that the attorneys
incompetence has precluded the jury from independently judging the merits of the
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Movant's case . Thus, the Movant is zealously to establish how this Court was tricked

 into presiding over and participated in this orchestrated heinous injustice prosecution
and wasted the public resource funds.
      In this case, the Movant asserts that the Court appointed attorneys ,whom provided
him with the kurest of legal assistance which proved to be totally inadequate in his

defense. Investigatioé work not carried out proficiently to explore the full extend and
truth of the facts, lack of trial preparation, failure to inform the Movant of his
rights including the right to obtain crucial witness testimony by means of a MROGAIDRY
1.
 F7N1Q'1.   The attorneys ineffectiveness cause prejudice on the outcome of the case and
deprive the Movant the right to a fair trial.
     Ihe attorney failed completely to garner corrokorating evidence for the Movant to
use to dispute government claims.
     The entire record of this case clearly shows that the attorney omission and failure

to exercise the skills and judgment of a competent criminal defense attorney. They did
not act in a competent manner because no     adequate investigation took place , and the
discovery was not reviewed despite numerous occasions the Movant had requested al1 the

attorney to do it. In fact, during the trial government introduced summnry spreadsheets

as evidence, in which the Movant objected to and stated that the summmry never was
provided to him prior to trial as required by rule 1006. (See trial transcript, DE-
511:126-128-1299 DE-470-90-93-949 DE-47O:104-1O5). lhe government alleged that the
summnry and original business records was provided on the discovery cds.

    Ihe attorney incompetence was prejudicial to the Movant and truly prevented him
from a fair trial WASHINGIDN v. STRICKtAND, 693 F.2d 1243, 1259 (5th cir. 1992)9 GLOVER
v. IJNITED STATES, 531 U.S. 198, 2O1 (è001); WILLIAM v. TAYLOR, 529 U.S, 362, 396-91


1 Attorney Robert Abreu withdrew from this case for the reason the Movant could not afford
to pay his investigator and stated that further investigation must be done in the case before
trial. (See, withdraw hearing in front KHW in August, 2012.


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(2006)9 PNITEP STATYS v. BRADELY, 42 OHIO St 3d 136 (1986); MLANKSN v. JONSON, 178 F.3d
312, 318 (5th cir. 1992).
     The Movant asserts that he was denied the key elements including investigation and
preparation during pretrial because his Court appointed attorney only offered as a
defense, a plea agreement to avoid long prison time. RUHHKL v. ESTH LE, 59O F.2d 103,

1O4 (5th cir. 1975)(it is important to interview witness, adequate consultation,
adequate investigation); GOODWIN v. BALCOH, 684 F.2d 794, 804-05 (11th cir. 1982)9
UNITED STATES v. PORTERFIELD, 624 F.2d 122, 124 (10th cir. 1980); WOOD v. ZAHRADRICK,
578 F.2d 980, 982 (9th cir. 1978).
     The attorneys did not performed anyone of the above adequate essential tasks in
this case. It is impossible for any attorney to prepare effectively for a trial without
interviewing witnesses, reviewing evidence , records, discovery or any required task. The

attorneys in this case constantly made promises that they knew to be false and engaged
constantly to advise the Movant to plead guilty despite his wishes to prove his
innocence at trial.

     lhe Movant asserts that, if the Court for once decide into puting the bias aside
and truly inspect the record of the case, the Movant's claims and evidences already

sukmitted in his previously j 2255 dated, December 12, 2017, under the rules and laws,
the Court would be able to have clear determination that Movant's sixth amendment rights
clause to the U.S. constitution were violated. And since such violation is established
                                                                                       ,

the Movant is entitle to relief without a showing of prejudice. COOPER v. FITZHARIS, 586
F.2d at 1328.
    lhe actions of the attorneys concluded that the Movant was denied the right to
effective defense and a fair trial. Thus, the attorney ineffectiveness acts prevented

the fact-finder       this case from independently judging the merit of the case. UNITED
STATES v. CAMPBELL, 616 F.2d 1151, 1152 (9th cir. 1980) cert. deniedy 447 U.S. 910, 1000
S. Ct. 2998 64 L. Ed. 2d 861 (1980). No one single material motion in this case was
filed by the attorneys. Worsey the attorneys misplaced the Movant's discovery
                                                                                       ,




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evidencey personal files and important documents. Numerous crucial documents and
evidence were misplaced and lost, including the letter and video from Osvaine Duarte, ln
which he admitted that he provided shipping services for the Movant business. Attorney
Doakes had the translated letter which showed to Movant at FDC Miami, but refused to
provide him with a copy when requested.

     In one occasion, inmate housing on the same jail with Movant came back from the
Courthouse (Broward) and informed Movant that an unidentified fpmxle had been seen
shuffling through the Movant unsecure boxes containing his discovery and personal files
which was left by attorney Adelstein unsafed at the Courthouse. This, despite that the
Hagistrate Judge Mattewman odered him to immediatly turn those files to Movant at FDC
Miami. Instead doing that, maliciously, those file were dropped-off in open Court during
a hearing next to the prosecutor table. Upon conclusion of the hearing, those boxes
containing important and crucial evidenciary material were placed in a holding cell
which the trial Judge though was a reasonable and proper place for the Movant to review
discovery and prepar for trial as the Judge stated that she was been fair to the Movant.
In the mean time, the prosecutor who has an office in the same building, was in her
office with many assistance, computer, 1aw books, and all the benefits to prepare for
trial. To make this process fair, why the prosecutor are not placed in the holding cell
    also to prepar for trial to.
    Nonetheless, this unprecedent acts cause numerous intimacy photos of Movant's wife

Hollinedo to be taken from the boxes as well as a familygrbo album including numerous
images that would clearly established the reality of Movant's marriage.
    Here in this j 2255, the Movant has sufficient evidence to meet the initial burden
of prejudice and inadequancies on counsel's performance which seriously have affected
the outcame of the trial. WOUD v. HARDNICK, 578 F.2d 980, 982 (4th cir. 1978)9
WASHINGTON v. STRACKLAND, 693 F.2d 1243, 1258 (5th cir. 1982); STRICKLAND v. WASHINGION,
466 U.S. 668, 687 (1984).
    The Movant had no possibility of a proficient and effective denfense which had lead
him to self representation because the attorneys denied him the right to a honest and

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effective assistance. ZAKAZEKSKI v. MCDONOUGH, A9O F.3d 1264, 1267 (11th cir.
zoo7ltquoting IDEM. CAM v. GORE, 761 F.2d 1549, 1551 (11th cir. 1985).
     lhe Movant contends that his rights to counsel is so preciously that it cannot be

denied without violating his fundamental principles of liberty and justice which 1ie at
the base of al1 civil and political institution. KIMMH MAN v . HORRISON, 477 U.S. 365,

375 (1986)9 HAcHàNN v. RICHARDSON, 397 U.S. 759, 771 (1970)9 PoWER v. AIABAM:, 287 U.S.
45, 53 S. Ct. 55, 77 L. Fd. 758 (1932).
     A defense counsel must do his utmost to bring his legal acumen to bear on behalf of
the Movant; keep him fully informed of developnent in the case and consult with the

Movant on a11 major decisions to be made; conducted a reasonable investigation which
should include contacting potential witnesses; prepare adequately and professionally for
trial; and the bottom line, serve as a vigorous and devoted advogate on the Movant's

case. U.S. EX REL PARTEE v. LANE, 926 F.2d 694, 7O2 (7th cir. 1991). And those rights
extends to appeal. EVIITS v. LUCEY, 469 U.S. 387, 406, 83 L. Fd. 821, 1O5 S. Ct. 83O
(1985)9 DOUGIAS v. CALIFORNIA, 372 U.S. 353 83 S. Ct. 814 (1963).
     As mentioned above in this j 2255, the Movant's attorneys did not provide him with
any reasonabte assistance or any preparation for trial. lhus, he was forced to self
representation upon withdrewal of attorney Adelstein from the case. Ihe Court refused to
provide the Movant another counsel and falsely acussed the Movant of not cooperating
with the attorneys despite the case record not showing any material motion filed by the
attorneys. If cooperating with Court appointed attorneys is accepted guilty plea despite
innocence, or even despite the attorneys not conducting investigation, than the Court is
rightj the Movant could not cooperate with any one's attorney. Still, the Hovant
exercised his sixth amendment right in a criminal case and requested the Court for
another attorney. The Court denied it.
    lhe Movant asserts that he had never made a voluntary decision to represent
himself. Iherefore, the conviction and punishment of imprisonment in this criminal case
is invalid because the U.S. constitution guarantee a lawyer to Movant who was in this



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case, unlawful brought to trial. FARElTh y. CALIFOFNIA, 422 V.S. 806, 832, 99 S. Ct.

2525, 45 L. Fd. 2d 562 (1975).
     The Supreme Court observed in other cases that where a defendant vehemently asserts
his rights, it is a decision to asserts one constitutional right instead of another.

MARSHALL v. ROGERS, 133 S. Ct. 1446, 1449, 185 L. Ed. 2d 540, 544 (2013).
     In this case, a Ca%PFPFNCE HFARING was never held as to proper test could be
conducted to reviewed whether the Movant had competency to stand himself in trial or if

the Movant was enduring any paranoid behavior for being ptaced in three different jails
during two years prior trial or even any medication was affecting in any way the Movant

capacitation to understading the 1aw or stand in trial. The competence hearing never
took place and the Court has never appointed any attorney to represent the Movant on a
competence hearing to inquire the Movant competency. Thus, violated his sixth amendment
rights. UNITED STATES v. FRANCISCO MARTIN, case no; 11-6544, 6O8 Fed. Appx. 340, 2014

U.S. app. Lexis 6387 (6th cir. 2015). 5ot one attorney has truly inquired or conducted a
evaluation if the Movant, a citizen from Brazil, was competent to stand trail. And have
the standby attorney inquire or evaluate Movant's competency to stand and trial without
a lawyer, we would be here today. UNITED
                                  - -      STATES v. BRYAN ROSS, (09-1952); and ROBERT
BURSIDN (O9-186O)(Sixth Circuit 2012).
     The Movant did not ever unequivocally invoke his sixth amendment rights to self

representation because simpty rejecting the representation of any one of the Court
appointed attorneys with whom conflict was clearly established due to attorney refused
to investigate the case or interview witnesses. The conflict has seriously inffected the
Movant's case, to include attorney Adelstein who maliciously dropped off the Movant

files unprotected in open Court. Among those conflictsy the Movant outlined the hearing
held in front of Hagistrate Judge Mattewman on July 2013, where the attorney himself
made official threats to send the Movant to hospital:...'bif we end up in a fight, one of

us will go to the hospital and 1 assure you that will not be me'' (easy to say when the
Movant is in hadcuff and shackles).


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     The breakdown of communication and conflict between the Hovant and attorney
Adelstein kegan in the early stage of his representation and continued after the
attorney together with bondsman David Rodriguez, conducted a orchestrated visitation to
Movant's family in Hargate, Florida and took $16,000.00 with promises to get the Hovant

out on a $100,000.00 nebbia bond. Ihe attorney had never filed a bond motion to Court as
the bondsman David Rodriguez complained and blame the attorney in his email sent to
Movant at FDC Miami. David Rodriguez was later arrested in 2014 and charged in Broward
County for the offense of 3rd degree theft and sentenced to five years probation and
ordered to pay restitution to a1l victims including the Movant's family. However, it has
been fiver years and not one single payment was even made. See, STATE OF FLDRIDA v.
DAVID RODRIGUEZ, 14O1443CF1OA. See also, ROGERIO CHAVES SCCrfON v.           ADKLSTEIN,
062013CA017359A, (Fla Cir. July 19, 2013).
     The Court also contributed with the problem by abusing its discretion and ordered
the attorney Adelstein to continue in the case as a STANDBY COUNSEL despite the Movant's
lawsuit against the attorney which clearly established the conflict of interest. Later
the Court also wrongfully repeated the error by withdrawing Adelstein as a STANDBY
CSUNSEL and appointed now as a STANDBY COUNSEL Chnntell Doakes who the Movant had
priviously conflict.
     To compel the Movant who was charged with a federal crime to undergo a pretrial
with the assistance of an attorney with whom he had became embroiled in irreconcilable
conflict was to deprive him of the effective assitance of counsel wbatsoever. BROWN v.

CRAvELy 424 F.2d 1166 (9th cir. 1970).
     In most cases, a claim of ineffective assistance of counsel is analyzed under the
framework set forth in STRICKLAND v. WASHINGIDN ,    466 U.S. 688, 687 (1964), which
requires a defendant to show a ''reasonable probability that but for counsel's

unprofessional errors, the result of the proceeding would have been differenuk Id. at
688, 694. However, where the record suggested or is clear that a criminal defendant has
been in this case, his substantial rights were violated.



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Both, the Supreme Court and the Eleventh Circuit have recognized that such claims should

be analyzed under UNITED STATES v. CRONIC, 466 U.S. 685, 694-696 (2002)) HUNTER v.
HADRE, 3O4 F.3d 1066, 1069-1070 (11th cir. 2002). The Hovant needs no reason in this j
2255 to specifically show prejudice when he was completely denied counsel at a critical
stage his case is ''so fundnmental'' a right-so essential to any fair proceeding-that its

complete denial is never harmeless. CHAPHAN v. CALIFORNIA, 386 U.S. 18, 23 N. 8 (1967).
In fact, the Supreme Court held in CRONIC that such circumstances Mare do likely to

prejudice the accused that the cost of litigating their effect in a particular case is
unjustified''. 466 U.S. at 648. The denial of counsel at any critical stage of a
proceeding renders the proceeding inherently ''unfair''. Id at 659.
     The Movant asserts that all the attorneys did not provide him with the minimum
effective assistance, because no investigation was ever undertakeny no discovery was

ever reviewed which included the fact that numerous cds were blank and the surmnry
spreadsheets was inaccurate. The attorney did not interview any witnesses which included
Junio Silva, Ron Wolff, Snmnra Moreiray and others.

     The Movant is now hereby requesting under this j 2255, that the Southern District
of Florida Court to put the bias aside in the interest of justice and meaningfully
review a1l facts, records and evidence under this j 2255 as well as the entire case, and
without allowing anyone to put their thumb to tip the scale of justice, 1et all the
violation in this particular case be reviewed under the current laws and for once stop

this travesty of justice that has beset Movant for over seven years.

                 WH
                 TlEFTPDI
                       HKR
                         R'I1lE APPFAL ATDRNEY INEFFEG IV ASSISTM CE DW ING
                        EG APPFAL VIOLATD 111E MOVM T'S SIXTH AMENDMFNT
                         RIGHTS CLAUSE 1D IHE U.S. COSSTITUTIOS

     lhe Movant contends that during attorney Klugh's legal representation in this case,
hë-onee onlyxvislted Movant for five Aioutes 'aLFDC Miami where he asked the Hovant what
he did to the Judge in order to receive such harsh term of imprisonment as a first time

offender. Nothing in this meeting helped the case or attempted to help the case. After


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the attorney spend one hour with all his other clients , he come up to the Movant and
introduced himself as the counsel who was appointed by the Court to handle the direct
appeal. The attorney informed the Movant that he would talk to him on the following day.
Xhis never occurred.
     Adequate consultation between attorney and client is an essential element of
competent representation of a criminal defendant. COLES v. PEYIDN, 389 F.2d 224, 225-26
(4th cir. 1968), cert. denied, 393 U.S. 849, 89 S. Ct. 8Oy 21 L. Fd. 2d 12O (1968). See
also, ADAMS v. BALKCOM, 688 F.2d at 124. While the amount of consultation required will
depend on the fact of each case, the consultation should be sufficient to determine a1l
legal relevant informntion known to defendant.
     Given the nature of this case and Movant's self representation during part of
pretrial and trial as well as the numerous undeniable violations , the necessity for

extensive consultation and/or coMnunication between the appeal attorney and Movant was
obvious and necessary. The Movant was familiar with the case , the inaccuracy of the

sunnary spreadsheets, the contradictory and prejured testimony given by government's
witnesses, the Movant's fxmn'liarity with fact set forth in numerous violation, he would
have been able to provide insight into the accurancy and veracity of the case.
     lhe colmunication with the Hovant was also essential to prepare and give in put to
the appeal brief and to obtain important inforgntion as to the most likely sources of
physical and material evidence which would corroborate his appeal.
     Given the facts and evidence under this          2255 and the attorney's lack
consultation with Hovant, which was totally inadequate during the entire pedency of the
direct appeal. The attorney had not taken into consideration any leads given by the
Movant or inspected the accuracy of the sllrrmry spreadsheets unalwfully presented in
trial by the government.
     The attorney lied and misled the Movant during the entire appeal which made the
Movant believes that he was appointed with the only mission being to , sabotage the
appeal and to pursue personal motivation. In fact, the appeal was affirmed . The attorney


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promised to review the Movant's draft brief and motion to release, insert his claims in

the final appeal brief, and allow the Movant to review the brief appeal BEFORE IT kAS
FILED with the Court. He lied and also misled the Movant with regarding to laws and

rules including the VERBAL AUDIO RECORDINGS to correct the transcripts. Here in this case,
one can only believe that this attorney was intentional appointed to this case and was
instructed to sabotage this appeal when it is so clear to see to many deprivation of
rights in this single defendant case.


           A) FAILURE TO FILE A MOTION TO RELEASE

     lhe right to consideration of bail pending appeal exists after conviction. UNITED

STATES v. BAIJDNE, 762 F.2d 1381, 1382 (11th cir. 1985)(per curiamltdefendant Mrighu'to
% il pending appeal could not be assessed until after conviction). And bail pending
appeal need not determine whether it is likely that the defendant actually will prevail.

UNITED STATES v. GIAGOLA, 754 F.2d 989, 9O1 (11th cir. 1995). Howevery despite that on
many occasions the Movant asked the appeal attorney to file a motion to release pending
the appeal, attorney Klugh lied with false promise to file but failed to do so.
Consequentlyy as   a   result of attorney's     inappropriate   behavior, the Movant's

constitutional rights were violated. Had the Movant beèn released he would have gained
exculpatory evidence, reviewed documents, protected his family from being ripped-off by
$65,000.00 from attorney Kristy Figueroa Contrera; who promised to withdraw attorney
Klugh from the case and effective appeal the case, and most important, add his imput
to the appeal brief. Although is it the Court final decision to granted tail or not,
attorney Klugh prevented the Movant from exercising his due process rights which
consequently violated the Movant's constitutional rights.



 2 The Hovant filed two motion to this Court in regarding the attorney Contreras
unlawful taken money from the Nbvant without signed contract and the false promises to
representation during the direct appeal. These motions still today pending in the dkt.


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           B) TRANSCRIPT VERBAL AUDIO RECORDING
     On December 23, 2014, the Nbvant sent to attorney Klugh a letter after finding
errors ad manipulation in the trial transcripts which the Hovant requested attorney Klugh
to correct by using the verbal audio recording. Instead of do what the 1aw require the
him to do, on November 3, 2014, the attorney again engaged doing lies and continued to
exercise his sinister plan by telling the Movant that in federal Court there is no VEkBàL

AUDIO RECORDIG. See, MICKENS v. TAYLOR, 535 U.S. 162, 166 (2002)9 SARROCA v. UNITED
STATF-
     G, 25O F.3d 785, 787-88 (2nd cir. 2001)9 FLDRFS-ORTEGA, 528 U.S. at 480; BIANKESSHIP
v. JOHNsOx, 118 F.3d 312, 318 (5th cir. 1997); REYXOLOS v. CHAPHAN, 253 F.3d 1337, 1347
(11th cir. zoolltconflict of interest affected performnnce because was prevented fran
raising reasonable defense in defendant's favor).
     Attorney Klugh performnnce fell below to objective standard of reasonableness, and
his performance prejudiced the Abvanty resulting in an unrealiable and fundamentally
unfair outcome of the appeal. STRICKLAND v. WASHISGIDS, 466 U.S. 668, 687-88 (1984)9
GLsvER v. UNITRD STATFS, 531 U.S. 198, 201, 2O4 (2001)9 VIRGIL v. DRETICE, 466 F.3d 598,
613 (5th cir. 2006)) GFNTRY v. SERVIER, 547 F.2d 838, 857-52 (7th cir. 2010).
     Ihe attorney failed to correct the trial transcripts including the cross-examination
of Hovant's wife and the numerous errors which cleary demonstrated the Court reporte
                                                                                   ''s
difficulty in understand the Movant accent. The attorney failed to inspect and review the
discovery evidencing and documents given to him which clearly demonstrated that the
attorney did not have the best interest in defending the Movant by only offering his
orchestrated ineffective assistance during the appeal.


            C) ATTORNEY MISPLACED AND LOST MOVANT'S CASE FILE

    On Hany occasions after the appeal Court confirmed the conviction, the Movant asked
the appeal attorney to return al1 the case files including the discovery. lhe attorney
claimed that he didn't have any of these requested material which clearly demostrated
thnt the attorney had never reviewed anything as requested prior to filling his worthless


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appeal brief. lhe attorney only relied on the manipulated transcripts of trial to appeal
the conviction and did not bother to inspect the inaccurate unlawful sumnary
spreadsheets. lhe attorney knew from day one when he took this case that his
representation was given intentional ineffective. STRICKtAND v. WASHINGTON, 466 U.S. 668,

687-88 (1984). By refusing to inspect the case files and discovery including the
inaccuracy of the government's summnry evidence, the attorney failed to included in his
brief numerous BRADY issues, which consequently precluded the Movant to a fair appeal.
     Anoung those BRADY issues, the attorney failed to argue as requested by the Movant,
that during the detention hearing on March 29, 2012, the prosecution showed to Court an
undated and unsigned letter purporting to be a final denial decision from the
Citizenship and T-msgration Services order denying           Hovant 's 1-485 app lication .

However, J2 DECISI0N FROM IMMIGRATION WAS ISSUED >J( THE TIME 2: THE
HFARING, HàRcH 29y 2012. Also the magistrate Judge Snow's detention order stated that
according to the informntion given by ICE, the Movant was current appealing his 1-485
application.
     On Nunerous occasions, the Movant request that documents refered by the Magistrate
Judge which stated that the Movant was, before the hearingy appealing his 1-485 denial.
Ihe informntion was never provided as requested by the Hovant.
     Attorney Klugh was requested to appeal this BRADY violation during the direct appeal
because the government used the Movant's innigration issue and his pending INS

application to make the Court denie his right to bail.
     Furthermore, the government alledged that the Movant had gave false statement in his
1-485 application and unlawfully charge the Movant twice for the same offense as to count
28 and 29.
     Attorney Klugh was asked to inpect the Hovant's A-file which are redacted and to

compel the government to turn over the missing BRADY informntion.
     lhe A-file may have contained exculpatory evidence that the government had never
hnnded over to the Movant, thereby undermining his due process rights and undermining the


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integrity of the trial. NDSROE v. ANGEIDNE, 323 F.3d 286, 3OO (4th cir. zoo3ltundisclosed
evidence favorable to accused because it could have been used to impeaçh government

witnesses); UNITED STATES v. BLAND, 517 F.3d 930, 934 (7th cir. 20O8)(Jnteria1 related to
accused would impeach creadibility).
     lhe government witbheld informntion contained in the A-File undr           U.S.C.

552(b)(3), (b)(6), (B)(7)(c) and (B)(7)(e).
    because the goverment accussed the Movant as set forth in ncount 28 and 29, he is
entitled to have a complete record of all documents from his A-File.
     Attorney Klugh failed to included in his appeal brief this BRADY violation and
failed to compelled the unredacted A-Fi1e.
    Attorney Klugh failed also to include in his appeal brief, as requested by the
Novant, the blank cds discovery which goverment alleged to have the su-mnry spreadsheets

and original business records. (See, DE-511:126-127-128-129; DE-470:92-93-94; DE-47O:1O4-
105).
    The trial Judge ordered the government during the trial to provide the Movant with
new cds to replace those blanks. Ihusy because the Movant was never afforded reasonable
time and place to inspect the summnry spreadsheets for accuracy, the introduction of the
sunnnry were made unlawful and consequently the Movant was deprived to a fair trial.

lhose summary spreadsheets introduced in trial were seriously prejudice against the
Nbvant because they tremendously increased his term of Dnprisonment based on inaccurate
evidence.

    Despite that the trial Judge falsely mentioning on record that the government had
given the business records to Movant, the cds itself show that was not given to Movant.
In fact, witnesses testified that the business record did not exist. Hencey the appeal

attorney never inspected the cds as requested by the Hovant nor had inspected the
accuracy of the summxry spreadsheets. Thus, he failed to appeal this issue, thereby, the
attorney provided ineffective assistance during the direct appeal.
    Möreover, the government alledged that the Movant had created unauthorized FedEx


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account under the name of a New York based company nnmed blH Photo Video. In reality, the
account was legitimately opened by the owner of K:H Photo Video in 2001. And was opened
before the Movant established his online business. biH Photo Video , had a similar website
to Movant. In fact, B&H Photo Video website contained pages in Portuguese and also had
shipping service to Brazil. lhe government's own witness testified that knew the account

was legitimately opened by RtH Photo Video company. (See, DE-475:38-399 DE-475:28-29).
     Under the government spreadsheets 'IR%H Photo Video accounp'y there was 73 invoiomn
wontioned of packages alleged to have keen shipped by the Movant. Nmong these 73 invoices
mentioned, there was 93 QEPFA;TM 1N701cF5 under the R%H Photo Video su-mnry spreadsheet.
Ihusjthere is not business record that would validate the spreadsheets or any record that
instead of the R/H shipping packages under they own account, the Movant bas used they
accoun t.

     Attorney Klugh failed to included this troubling and serious BRADY v. HXRYLAND, 373

U.S. 83, 83 S. Ct. 1194, 10 L. Fd. 2d 215 (1963), in his appeal brief, nor have the
attorney attempted to inspected the inaccurate goverment summnry spreadsheets.


            D) ATTORNEY FALIED TO REQUEST TWO LEVEL FEDUCTIOY PMRSUAST TO
AMENDMENT 791

     The Movant contends that on many occasions he request his attorney to argue during
the appeal process the two level reduction on the changes to the monetary table
pursuant to j ZBI.I.
     lhe Movant contends that a conviction becames final once the judgment is rendered
and the defendant exhnusts all direct appeal, and the time for filing a petition for

certiorari on direct review lapses. TEAGUE, 489 U.S. at 295 (citing AIJEN v. HARDY, 478
U.S. 225, 258 n.1 llg86ltpercuriamll. See also, PFNRY v. LYNAUGH, 492 U.S. 302, 314-15
(1989) a brogated on other grounds by ATKINS v. VIRGINIA, 536 U.S. 304 (2002); MCCLOUND
v. Ha3Ksy 560 F.3d 1223, 1229 (11th cir. 2009). lhus, had the attorney included in his
appeal a brief to this claim, the Movant's sentence would have been reduced and the
Hovant could have been released from prison. Because the attorney failed to effectively


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appeal this case, the attorney's ineffectiveness made the Movant endure unnecessary
incarceration time. Consequently to this failure to provide effective assistance, the
Movant's sixth amendment rights were violated .


          E) FEFUSE TO APPEAL THE LOWER COURT DENIAL MOVANT'S COHPULSORY
RIGPT TO INTRODUCE WITrYCSES

     The Movant had requested his appeal attorney to appeal the Courtls denial of the
Nbvant rights to compulsory introduce 29 witnesses to testify in trial. lhe Judge abused
her discretion when she denied the Movant his 29 subpoenaed witnesses by saying that the

jury was seating on trial to long and that she had already seen the government's case
which there was no reason to bring 29 witnesses to testify. Here one can only believe
that GUILIY VERDICT was reached already despite the Hovant not presenting his case. The

trial judge engaged in explicit and unconstitutional act to prevented the Hovant from his
substantial rights to present witnesses. Once, again, the appeal attorney failed to
appeal clear violation tbat occurred in this case.


            F) GIGLIO VIOLATION

     Pursuant to 18 U.S.C. j 6001 and j 6003, igmunity in exchange for testimony to the
government witness can only be obtained if granted by the Court. UNITED STATES v.

DDNAHF.
      RY, (19761 CAS FLA) 529 F.2d 831, and the government must provide a defendant with
the list of a11 witnesses that were granted immunity before trial. UNITED STATES v.

BRIGHTON BLDG & MAINFENàNCE C5., 434 F. Supp. 222, 1977 U.S. (1977).
     lhe Movant contends that he had asked the appeal attorney to included in his appeal
brief the GIGLIO violation whic occurred in this case during the Hovant's wife cross-

exanination. (See, DE-474:22). When the Movant inquired about i'rmunity for his wife, the
government objected and the Court called sidebar. (DE-475:22). At sidebar, the government
denied to give immunity to Hovant's wife despite the fact that Movant introduced as
evidence, a letter with the government on August 26, 2013, attached to a plea agreement

offered to Movant. (See, DE-474:22; DE-474:23). Later, after the government ended the
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cross-examination of Movant's wifej the trial Judge called another sidebar and further,

engaged in telling the government to correct the misconduct which occurred in front of

the jury. The prosecutor then began to engage in numerous questions leading the Movant's
wife to anwser and convince the jury that immunity was granted despite that the
government's denial. (DE-474:22-23). lhe Movant objected the sideshow and the perjury
testilony. lhus, in the end, the Court allowed the jury to believe that n'-alnity was
granted to Movant's wife, despite the government's denial. lhe Hovant was denied fair

trial and a guilty verdict was imposed even before trial began.
     In this case, the government duty to present a11 material evidence before trial was
not fufilled and the Hovant due process rights were violated . NAPE v. ILLINOIS, 36 U.S.

264, 3 L. K;. 3d 215, 83, S. Ct. (1963).
     lhe Hovant vigorously cross-exaninated his wife seeking to discredit her testimony
by revealing the possible agreement or arrangement for leniency in any possible offense.
lhe trial Judge did not undertake to resolve the conflict of the government letter
mentioned i>nunity and the fact that the Movant was still married to Ms. Mollinedo. Thus,
the Movant due process was violated. lhe immunity was not requested from the attorney
general or designate office of the DOJ. UNITED STATES v. DODDINGION , 822 F.2d 818, 1987

U.S. app. 885 (1987). Hence, the record and the statement given by both, the prosecutor
and Ms. Mollinedo reflected different facts from what the Court allowed the jury to
believe. UNITED STATES v. HOOK, 848 F.2d 785, 1988 U.S. appx texis 7966, 88-1 (1988).
     In this case, im=lnity did not follow justice department guidelines and consequently
Hovant's constitutional rights were violated .


             2) RECRUIT CONVICTED INMATE
     Ihe Movant contends tha he requested his appeal attorney to included this issue in
his appeal brief which the attorney ignored and failed to do so.
     A proffessional snitch, John Jackson, Movant ex-cell-made at FDC Hiami IO-E, had
received in two previous occasions a sentenoe reduction based in two motions of rule 35


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file by the government. Jackson, was recruted by the government with the sole purpose
of sabotating Hovant's pro se defense by taking from Movant boxes of important
documents and to provide informntim on the Movant's preparation including his

witnesses list. Jackson bave suppress numerous exculpatory document from Hovant's cell
and provide such to the FBI agent Vanbrunt. In fact, upon receiving the witnesses
list, three       the defense witnesses received visitation from the agent and

subsequently became the government éitnesses under intimination.
     Jackson was previous sentenced to 97 months imprisonment for health care fraud
and ordered to pay over eleventh million in restitution. He served only 22 months
before re-sentenced to time served after receiving two motions under rule 35 filed by
the government.

     Ihis type of prosecutorial misconduct justifies the reversal of the conviction
and dismissal of the case where it so to infected the trial with unfairness as to
resulting the conviction denial of due process. BARDEN v. WAIERIGHT, 477 U.S. 181
                                                              -




(1986)(quoting Y NNELLY v. DE. CIEISD FORO, 416 U.S. 637, 643 (1975)).
     lhe record and evidence clearly established that agent Vanbrunt was in
communication with Jackson. In fact, unlawfully the agent entered the Movant's
Fbther's apartment complex walked to the second floor without a search warrant,
entered the storage room and took the DVR containing the Movant's intimacy video with
wife Mollinedo.
     The Hovant contends that he had provided this information to the appeal attorney
which included the affidavit of two other inmmtes who bad knowledge of Jackson taking
documents from Movantîs box and handing such to FBI agent during the visitation at FDC
Miami. Thusy the appeal attorney provided ineffective assistance during the direct
appeal and consequently, the Movant's sixth amendment rights were violated.


        H) THE ATTORHEY FAILED TO CHALLENGE THE MAIL FRAUD OFFENSE
                                     UNDER      U .S.C . s

     The Movant contends that the government wrongful alleged that Movant committed


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 mail fraud under 18 U.S.C. j 1341 because FedEx, UPS and DHL are not the recipient for

 purpose of j 1341.
     The Hovant ran a legitimate registrade internet retail store under his own name
 throughout the Brazilian colmunity and in Brazil where none of his clients hav e       ev ern
been defrauded or have ever lodged a complaint against the Movant. The allegation on the
indictment however, stated that the Movant used FedEx UPS and DHL shipping service to
                                                     ,

ship to his retail clients packages without Mpaying the shipping cospk As such             is
                                                                                    ,

no surprise that the jury was confused akout this entire orchestrated prosecution and
sought guidance from the Court as to what crime had actually been committed during the
deliberation and after of five week of trial. There was no record that a explanation in
response to their questions addressed in a note were given. UNITED STATES v. HEWRRS, 729

F.2d 1302, 1320 (11th cir. 1984)9 UNITED STATES v. HASSON, 333 F.3d 1264, 1270 (11th
cir. 2003).
     The Eleventh Circuits holds that,     Hltlhe geit fraud statute 18 U.S.C. j 1341, does
not define what constituted a scheme to defraud . In the absence of a statutory

defination, the Court had provided a judicial framework for conceptualizing a fraud
scheme''. BRAMLY y. qNJ;FD
          -      -            STATES, 644 F.3d 1213 (11th cir. zollllciting UNITEP STATES v.
PENDERGRANFT, 297 F.3d 1198 1208 (11th cir. 2OO2)C'Et)he meaning of such scheme to
defraud has been judicial definedî').
     In defining a scheme to defraud , the judiciary did what congress could not
effectivelly legislate bills of attainder any ex post fact of law .
     Therefore, congress's aboication of its duty to define criminal conduct resulted in

the judiciary creating # typical-for-lawyers imprecise definition of a scheme to defraud
as a f'reflection of normal uprighteness of fundamental honest, fair play, and right
dealing in the general business life      a member of societyd'. BRADLEY, 644 F.3d at

124O(quoting GREEORY v UNITED STATES, 252 F.2d 104, 1Oj (5th cir. 1958) which inturn
                      -
                          .



quotes (HAMMERSCHITIHAT v. IJNITED STATES, 265 U.S. 182, 188 (1924). In fact, the
judicial defines a fraud as what 12 members of a jury believes is fair. A paradigmic

                                           (34)
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example of vague; a definition that charges with each jury. More precisely, the
definition is even more amorphousy because the element's definition really is determined
by what a panel and honest dealing in a particular community or trade.
     To be sure this system-all-system on the experience, intellect, and common sense of
humnn being to decise uncertain facts. The hallmark of facts is they can a last

theoretically be proved or disproved, and minimally the must be subject to prood. The
concepts of fair play and honest dealing are gore fluid and not subject to proof.
     In this case, the Court could not more identify the boundaries of a fraud than
congress could. Ihus, the Court adopted notary, and Mit depends'' analysis, but

transferred responsibility for defining the crime allegedly to the jury. In fact, the
jury note subnitted during deliberation has presented substantial doubts and failure to
finding the elements of crime which was alleged on the indictment. Thus, the judiciary's

slippery definition had the effect of kicking de oan down the road to the jury. The jury
now decides what legislated fraud is; whaterver the jury believes is not morally uprigh
or is unfair or is dishonest. Although for the first amendment concerns it may be a1l

right for the finding facts to decide wbat something is when ''they see ipk
   Here in this case, the government failure to provide a proper, precise definition of
scheme to defraud invalides the fraud statutes as being impermissibly vague, forcing a

jury to make a post hoc finding about what is a scheme to defraud. Thereby, making
arguably legal conduct criminal; and more abstractly permitted 12 unelected-citizen-to-

define-criminal-conduct; and impermissible (unconstitutional) delegation of legislative
duty.

     lhe Movant challenges his conviction under 18 U.S.C. j 1341 because it was not
Mmoney and property'' within the meaning of the cnil fraud statute. Rather, here in this

case the government lodged allegations of billing issue which the companies failed to
present the detailed business records or have made any attempt to collect any
outstanding invoices from the Movant. UNITED STATES v. LONEY,  959 F.2d 1222, 1337 (5th
cir. 1992). Following the logic, the mail fraud would not extend to a fraudulent scheme


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 to include a seller to sell a product at a discounted but still profitable price because
the selter would not have made any profit at a11 but for the fraud. Howevery in this
case, the government alleged that on 27 occasions, the Movant shipped 27 packages under

his own accounts or others entitled accounts without authorization and CAUSE THOSE 37   -


PACKAGES >; #ï DELIVERD which allegedly caused losses for the companies. However, those
27 packages refer
       -            to the #; counts was presented in Court during trial. Xhus, those
packages were not delivered as alleged and therefore, could not cause a losses or be
considered a loss for those companies.

     The government failed to prove lossess or mail fraud under j 1341. In facty the
amount derived from the calculation is clearly in error. The Court used the face value
based on unverified and inaccurate spreadsheets and contractory testimony.

     Ihe Supreme Court has held in other cases that j 1341 property defined a criminal
scheme to defraud that involved bribes or kick backs. Thus, intent to defraud by causing
mail to be delivered based on allegation that the shipping service used was not payed

does not falls under j 1341.
     Furthermore, the jury instruction given in this case are invalid under j 1341.
YATES v. IJNl'
             i'
              & STATESy 354 U.S. 298 , 31,7.77 @. çt. 19% , J L. CJJ24 1,
                                                                        756.
     Pursuant to SKILLING v. UNITED STATES, 558 U.S. 13O S. Ct. 393, 175 L. Fd. 2d 267

(2009), the Movantds conviction could not stay and the indictment rested in part, on an
improper construction of ''Jail fraus'' to defraud by causing mail to be delivered only
based of billing issue. See, 18 U.S.C. j 1341. Compare SKILLING where it is similar
                                   .          -



present in the case. In this case, the government and appeal attorney advise and
interpretation of j 1341 previously rejected by the Supreme Court's opinion in SKILLIHG.
During the trial, the government rendered two theories that in not a finding factual
element of crime under the meaning of mail fraud . Whether shipping account was used or
created to be used without au#he yml œ ,   these is related to a billing and does not rank

the purpose under j 1341. YATE v. UNITED STATFS, 354 U.S. 298, 312, 77 S. Ct. 1064, 1 L.
Fd. 2d 1359(1957); CEILLING v. UNITED STATES) 556 U.S. 13O S. Ct. 393, 17) L. Fd. 2/ 267


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